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                                                 SENTENCING MINUTES

 Date: 05/17/2019                                                               Judge:             T.S. ELLIS III
                                                                                Reporter:          T. Harris
                                                                                Time:              9:26 a.m. – 10:11 a.m.
                                                                                                   ( 00:45 )
                                                                                Case Number:       1:18-cr-00308-TSE-1

     UNITED STATES OF AMERICA                                       Counsel/Govt: Alexander Berrang

                      v.

             MARKARA MAN                                            Counsel/Deft: Evan Lisull & Edward Robinson


Court adopts PSI (    )               without exceptions ( )                   with exceptions:

Court overruled defense objections as to the 6-level enhancement. Court ruled defendant is entitled to Acceptance of
Responsibility. Letter from chairman made part of the PSIR.

 SENTENCING GUIDELINES:
 Offense Level: 26  23
 Criminal History: I
 Imprisonment Range: 63 to 78 months  46 to 57 months
 Supervised Release Range: 1 to 3 years
 Fine Range: $25,000 to $250,000
 Restitution $To Be Determined
 Special Assessment $100


JUDGMENT OF THE COURT:
BOP for 20 months with credit for time served
Supervised Release for 3 Years, with special conditions:      ( X ) Yes    (   ) No
 ( X ) Fine/costs of incarceration waived
Special Assessment $100


CONDITIONS:
  • Defendant to pay any outstanding balancing towards his location monitoring financial obligation
  • Defendant to participate in a substance abuse program
  • Defendant to participate in mental health treatment
  • Defendant shall not possess or use a computer without probation officer approval
  • Defendant shall comply with computer monitoring requirements.


RECOMMENDATIONS to BOP:
 X    Dft. To be designated to: a facility that can accommodate defendant’s need for mental health treatment, administering his
      medication and monitoring proper food consumption.
      Dft. designated to facility to participate in ICC (Boot Camp) type program
      Dft. to participate in 500 hr Residential Drug Abuse Treatment Program (RDAP)
      Other:


Deft: ( X ) Remanded       (   ) Cont’d on Bond to Self-Surrender     (   ) Referred to USPO      (   ) Immediate Deportation
